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Case 2:05-cr-20093-.]DB Document 15 Filed 06/02/05 Page 1 of 2 Page|D 15

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UN|TED STATES OF AMER|CA, w.o. o9 lw. iw:Mr>Hls
Plaintift,
VS.
CFl. NO. 05-20093*5
MARKEETA ECHOLS,
Defendant.

 

OFiDEFl ON CONTINUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAV
AND SETT|NG

This cause came on for a report date on |V|ay 31, 2005. At that time, counsel for

the defendant requested a continuance ot the June 6, 2005 trial date in order to allow for
mental evaluation.

The Court granted the request and reset the trial date to September 6, 2005 with

a special rep_ort date of Thursdav. Auqust 25, 2005. at 1:30 p.m., in Courtroom 1.
ttth F|oor of the Federa| Bui|ding, Nlemphis, TN.

The period from June 17, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this day of une, 2005.

 
   

 

D STATES D|STR|CT JUDGE

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""DISICT COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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Honorable J. Breen
US DISTRICT COURT

